      Case 2:13-cr-00026-LRS      ECF No. 117    filed 04/10/13   PageID.334 Page 1 of 1




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 3
 4                            UNITED STATES DISTRICT COURT
 5                       EASTERN DISTRICT OF WASHIGNTON
 6
 7 UNITED STATES OF AMERICA,                        No. CR-13-026-LRS-4

 8                       Plaintiff,                 ORDER GRANTING
 9 vs.                                              DEFENDANT’S UNOPPOSED
                                                    MOTION TO MODIFY
10 OSMANY RUIZ LEMAS,
11
                Defendant.
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13
           Before the court is Defendant’s Motion to Modify One Condition of
14
     Release. The court has considered the Motion and Declaration of Counsel. The
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     United States has not filed a response. Accordingly, the matter is treated as
16
     unopposed.
17
           IT IS ORDERED that Defendant’s Motion to Modify One Condition of
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     Release, ECF No. 108, is GRANTED.              The $75,000 corporate surety bond
19
     requirement is modified. Defendant shall post a $75,000 percentage bond with a
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     deposit of $7,000 cash into the court registrar.
21
           All other release conditions ordered on March 22, 2013, ECF No. 101,
22
     remain in full effect.
23
           DATED April 10, 2013.
24
25                             S/ CYNTHIA IMBROGNO
26                       UNITED STATES MAGISTRATE JUDGE

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     ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION TO MODIFY -
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